Case 17-22337-jrs    Doc 30    Filed 04/03/18 Entered 04/03/18 15:15:54      Desc Main
                               Document      Page 1 of 3




  IT IS ORDERED as set forth below:



  Date: April 3, 2018
                                              _____________________________________
                                                          James R. Sacca
                                                    U.S. Bankruptcy Court Judge

 _______________________________________________________________




                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                              GAINESVILLE DIVISION


IN RE: PAMELA MICHELE DAVIS,             ) HONORABLE JAMES R. SACCA
                                         )
                                         ) CHAPTER 7
                                         )
        Debtor.                          ) CASE NUMBER G17-22337-jrs


                          ORDER ON TRUSTEE’S
              APPLICATION TO EMPLOY SPECIAL COUNSEL –
            MARK S. SCHAEFFER WITH GLASSER & SCHAEFFER, PC


         It appearing to the Court, that the appointed Chapter 7 Trustee in the above-

styled case has filed an Application to Employ Special Counsel – Mark S. Schaeffer,

Esquire of Glasser & Schaeffer, PC, with a conformed copy of the Application served upon

the Debtor, her bankruptcy counsel and the United States Trustee as indicated on

                                PAGE ONE OF THREE
Case 17-22337-jrs      Doc 30     Filed 04/03/18 Entered 04/03/18 15:15:54       Desc Main
                                  Document      Page 2 of 3


the Certificate of Service attached thereto. It further appearing to the Court, that the

trustee proffers to the Court in her Application, that the employment of Mark S. Schaeffer,

Esquire of Glasser & Schaeffer, PC is in the best interest of the estate to maximize the

recovery value of the estate’s pending lawsuit, based upon his specific pre-petition

familiarity with the estate’s claim; his extended experience in lawsuits and related actions;

and, the maximum recovery value of the geographical location of the claim’s judicial

venue. Based upon the foregoing, it is hereby

         ORDERED that pursuant to 11 U.S.C. Section 327(e) the Trustee is authorized to

retain Mark S. Schaeffer, Esquire of Glasser & Schaeffer, PC as counsel for the trustee to

continue to perform the legal services necessary to ensure maximum recovery of the

estate’s pending lawsuit, with the requested contingency fee and reimbursement of

necessary and reasonable expenses incurred in direct relation thereto being subject to

approval by further Order of the Court. It is

         FURTHER ORDERED, this Order is entered, subject to the United States Trustee

or any party in interest, filing an objection with the Court within twenty-one (21) business

days of the entry date hereof serving all parties in interest.

                                     [END OF DOCUMENT]

Presented by:

s/ Betty A. Nappier__________________
Betty A. Nappier
Chapter 7 Trustee
GA Bar No. 534675
Post Office Box 1649
Cumming, Georgia 30028-1649
(770) 529-9371, facsimile (770) 947-5371
banappier@ gmail.com


                                    PAGE TWO OF THREE
Case 17-22337-jrs      Doc 30     Filed 04/03/18 Entered 04/03/18 15:15:54             Desc Main
                                  Document      Page 3 of 3


                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                GAINESVILLE DIVISION


IN RE: PAMELA MICHELE DAVIS,                ) HONORABLE JAMES R. SACCA
                                            )
                                            ) CHAPTER 7
                                            )
         Debtor.                            ) CASE NUMBER G17-22337-jrs



                                  DISTRIBUTION LIST



        Notice of the foregoing Order on Trustee’s Application for employment of special counsel
– Mark S. Schaeffer, shall be forwarded to the following parties at their respective addresses:


Pamela Michele Davis                             W. Ross McConnell, Esquire
Post Office Box 2158                             1079 South Main Street
Cleveland, Georgia 30528                         Cornelia, Georgia 30531

United States Department of Justice              Mark S. Schaeffer, Esquire
Office of the United States Trustee              Glasser & Schaeffer, PC
362 Richard B. Russell Building                  56 Perimeter Center East, Suite 450
75 Ted Turner Drive, S.W.                        Atlanta, Georgia 30346
Atlanta, Georgia 30303


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Chapter 7 Trustee
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                                      PAGE THREE OF THREE
